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              Attached hereto as Exhibit B are U.S. Postal Service receipts

showing that the Discovery Requests were mailed to Anglin at his last known

addresses by regular mail.

             Attached hereto as Exhibit C are U.S. Postal Service receipts showing

that the Discovery Requests were mailed to Anglin at his last known addresses by

certified mail, return receipt requested.

              Attached hereto as Exhibit D is a U.S. Postal Service confirmation

showing that the Discovery Requests were delivered to Anglin at a parcel locked in

Columbus, Ohio on November 26, 2021.

             Attached hereto as Exhibit E is a copy of Plaintiff’s Second Set of

Interrogatories.

             Attached hereto as Exhibit F is a copy of Plaintiff’s Second Set of

Requests for Documents.
  Case 9:17-cv-00050-DLC-KLD Document 245 Filed 12/08/21 Page 4 of 4
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